Case 2:04-cV-02689-.]P|\/|-de Document 20 Filed 06/01/05 Page 1 of 2 Page|D 30

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IN THE UNITED sTATEs DISTRICT coURT
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JOHN MACK EDWARDS, WD_GFTN,UEMNHS

Plainti£f,
v. No. 04-2689 Ml/v
cITY oF covINGToN, TENNESSEE,

and RUSSELL BAILEY, in his
capacity as Mayor thereofr

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Defendants.

 

ORDER SETTING TELEPHONE CONFERENCE AND CONTINUING TRIAL DATE

 

Pursuant to the discussion during the parties' June l, 2005,
telephone conference, the Court hereby sets a telephone
conference in this case for Fridav, JulV l5, 2005, at 2:30 o.m.
Plaintiff shall initiate the call with all parties on the line.

Further, the August 29, 2005, trial date in this case is

hereby continued until further notice from the Court.

So ORDERED this iEFH day of June, 2005.

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JON P. MCCALLA
ED STATES DISTRICT JUDGE

  
 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:04-CV-02689 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

